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Dr. Anand Ganesan

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Task in Litigation
• Evaluate the biologically plausible mechanism of action by
  which the PDE5 inhibitor tadalafil causes melanoma
  progression.




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Summary of Opinions
• It is my opinion to a reasonable degree of scientific
  and medical certainty that:
 • There is a plausible biological mechanism by which PDE5 inhibitors,
   including tadalafil, promote increased growth and invasiveness of
   melanoma – including causing a dormant undetectable melanoma to
   become a diagnosable disease
 • The Arozarena and Dhayade publications demonstrate how this
   mechanism functions and that this mechanism is generalizable to most,
   if not all melanomas
 • The therapeutic dose and duration is sufficient to cause melanoma
   growth and invasion
 • This mechanism is further supported by the consistent and significant
   association found between PDE5 inhibitors and melanoma in the
   epidemiological literature


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Methodology
• Conducted extensive literature search
• Reviewed the epidemiologic data demonstrating an
  association between PDE5 inhibitor use and melanoma
• Examined studies related to the mechanism of how PDE5
  promotes melanoma progression
 • The mechanism of action of a PDE5 inhibitor
 • PDE5 presence in melanocytes and melanoma cells
 • In vitro and in vivo studies demonstrating PDE5 inhibition effect of
   growth and invasion
 • Evaluation of signaling pathways involved



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Methodology
• Examined evidence related to PDE5 inhibitor use and potential
  anti-cancer effects
  • Considered whether studies were conducted in melanoma or other
    cancers
  • Considered which stage of cancer studies evaluated
  • Considered which agents were used (specific PDE5 inhibitors versus
    cGMP analogues or non-specific PDE inhibitors)
  • Considered the context of the mouse models (pauci inflammatory,
    chronic immune microenvironment)
  • Considered the effect of PDE5 inhibitors on the immune system and
    relevance to melanoma
• Reviewed internal documents produced by Eli Lilly, including
  preclinical studies and employee deposition testimony



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Definitions of Terms
in Cancer Biology
Proliferation- the process that results in the increased number of
cells as a result of cell division.
Growth- the process of increasing physical size.
Tumor Volume- the size of a cancer as measured by the amount
of space taken up by a tumor.
Invasion- The direct penetration of cancer cells into adjacent
tissues. For melanoma, this is the first step in progression.
Physically, this refers to penetration through an adjacent tissue
barrier, in this case the dermis, which contains collagen.
Metastasis- tumor cells break away from where the tumor was
first formed, enter the blood stream, penetrate a new tissue, and
survive in the new tissue.


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Models to Look at Tumor Growth



• Culture cells in a dish                      • Culture cells in a dish
• Put in a fluorescent marker                  • Put in a fluorescent marker to label the
• Inject the cells in the flank of a mouse       cells
  without a functional immune system           • Inject the cells into the tail vein of a
• Look at the movement of the tumor              mouse
  cells within the tumor itself                • Looks at the movement of the tumor cells
• Models tumor growth and invasion               from the bloodstream to the lung
                                               • Models extravasation of tumor cells out
                                                 of the bloodstream- only late stages of
                                                 metastasis


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Dose Considerations
• Bioavailability
  • The bioavailability of the drug in mice is 17% compared to 41% in
    humans.

• Drug excretion
  • Sildenafil is excreted more than 2.4 times as fast in mice as in
    humans.




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Dhayade 2016 – Figure 7
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“Human Melanoma Cells Also Express a Growth-Promoting
cGMP Pathway”
• In two human melanoma cell lines, administration of sildenafil to cells causes
  increase in MAPK activation and also increase in cGMP levels within 10 minutes

• This series of experiments led the authors to conclude that “human melanoma
  cells can express a growth-promoting cGMP pathway that is also responsive to
  pharmacological stimulation with sildenafil.” Dhayade et al., p. 5.

 Figure 7 C and D




                                                                                   (JX87)




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Dhayade 2016 –Figure S5
“Model of cGMP Signaling in Melanoma Pathogenesis”




                                                                        (JX87)



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Additional Literature Regarding
PDE5 Inhibitors and Cancer
• Direct effect studies
 • These are the studies that test whether a PDE inhibitor has a direct
   effect on a cancer cell.

• cGMP analog studies.
 • These studies look at the effect of cGMP analogs, which are
   experimental tools, on cancer cells. They do not involve PDE5
   inhibitors.

• Immunotherapy studies.
 • These studies involve PDE5 inhibitors being used in conjunction with
   other cancer treatment drugs and evaluating the effects on the
   immune system.



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MDSCs in the Immune
Microenvironment
• “MDSCs have been reported
  to be enriched during the
  tumor progression and to
  display a strong inhibition of
  antitumor T cells immune
  responses by multiple
  mechanisms” Hassel et al. at
  1.
• Hassel et al. includes a
  reference to Jordan KR 2013
  “Myeloid derived suppressor
  cells are associated with
  disease progression and                     Srivastava et al 2012 Lung Tumor Microenvironment and
  decreased overall survival in                                 myelomonocytic cells.
  advanced-stage melanoma                      Note MDSCs are activated by established tumors
  patients.” MDSCs are not seen                        (lung cancer in this example)
  in early stage melanoma in
  this paper.
                                                                                                      (JX105)




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Overall Opinion on Additional Literature
Regarding PDE5 Inhibitors and Cancer
• The direct anti-cancer publications do not demonstrate any anti-
  cancer effect of a selective and potent PDE5 inhibitor on early
  stage melanomas
• The cGMP analog studies are done with less specific
  experimental tools, not PDE5 inhibitors and were not testing the
  effect of PDE5 inhibition on melanoma cells.
• The publications regarding immunotherapy, which I considered
  more relevant and discussed in my report, use of PDE5 inhibitors
  are limited in application to late stage melanomas or those that
  have progressed which have more MDSCs, not early stage
  tumors. They are also not proposed as a monotherapy, but only
  for use in conjunction with cancer treatments.



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Conclusion
• It is my opinion to a reasonable degree of scientific and medical
  certainty that:
  • There is a plausible biological mechanism of action by which PDE5
    inhibitors can cause increased growth and invasiveness in melanoma,
    including causing a dormant undetectable melanoma to become a
    diagnosable disease.
  • Arozarena and Dhayade demonstrate that PDE5 inhibitors promote
    melanoma invasiveness and growth.
  • The therapeutic dose and duration is sufficient to cause melanoma
    growth and invasion.
  • There is sufficient evidence in the epidemiologic literature that PDE5
    inhibitor use is associated with increased risk of developing melanoma.
  • There is evidence that PDE5 inhibitors affect MDSC function, which may
    impact the growth of some advanced melanomas, but does not negate
    the effect of melanoma progression seen in Arozarena and Dhayade.


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